











THIS OPINION HAS NO PRECEDENTIAL VALUE. IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        Christine Visser, Appellant,
        v.
        APEX Builders, LLC, and Bill Pinckney, Respondents.
      
    
  


Appeal From Greenville County
John C. Few, Circuit Court Judge

Unpublished Opinion No. 2011-UP-171
Submitted March 1, 2011  Filed April 18, 2011&nbsp;&nbsp;&nbsp;

AFFIRMED


  
    
      
        Keven Kurtis Kenison, of Greenville, for Appellant.
        Rhett D. Burney, of Laurens, for Respondents.
      
    
  

PER CURIAM: Christine Visser appeals a circuit court order dismissing her appeal from a magistrate's decision for failure to file a notice of appeal
sufficient to give notice of her grounds for appeal to APEX Builders, Inc. and Bill Pinckney (collectively, "APEX").&nbsp; Visser argues the circuit
court erred in dismissing her appeal because (1) her original notice of appeal provided adequate notice; (2) if the original notice was insufficient, the
circumstances surrounding her appeal provided adequate notice when combined with the original notice; and (3) her supplemental notice of appeal provided
adequate notice.&nbsp; We affirm[1] pursuant to Rule 220(b)(1), SCACR, and the following authorities:
1.&nbsp; As to whether the original notice in and of itself provided adequate notice: State v. Sullivan, 310 S.C. 311, 314-15, 426 S.E.2d 766, 768-69
(1993) (holding similar exceptions listed in an original notice of appeal failed by themselves to apprise the other parties and courts of the grounds for
appeal).
2.&nbsp; As to whether the circumstances surrounding the appeal and the original notice provided adequate notice: Rule 210(h), SCACR ("[T]he appellate
court will not consider any fact which does not appear in the Record on Appeal."); Price v. Pickens Cnty., 308 S.C. 64, 67, 416 S.E.2d 666, 668 (Ct.
App. 1992) ("The burden is on the appellant to provide a sufficient record such that this court can make an intelligent review.") (citation
omitted).&nbsp;
3.&nbsp; As to whether the supplemental notice provided adequate notice: United Dominion Realty Trust, Inc. v. Wal-Mart Stores, Inc., 307 S.C. 102,
107, 413 S.E.2d 866, 869 (Ct. App. 1992) (holding an issue was not preserved because the circuit court did not rule on the issue and the appellant failed to
raise the issue in a motion to alter or amend) (citation omitted).
AFFIRMED.
HUFF, SHORT, and PIEPER, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

